     Case 1:13-cv-02581-PKC-JLC                 Document 525       Filed 08/18/21   Page 1 of 1
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                                                                            ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                                             8/18/2021
                                                                            DATE FILED: ______________
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CBF INDUSTRIA DE GUSA S/A, et al.,                             :
                                                               :
                                                               :
                           Plaintiffs,                         :   ORDER
                                                               :
         -v-                                                   :   13-CV-2581 (PKC) (JLC)
                                                               :
AMCI HOLDINGS, INC., et al.,                                   :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        For the reasons set forth in an Opinion and Order to be filed today temporarily under

seal, 1 Plaintiffs’ motion for sanctions is granted in part and denied in part, and sanctions pursuant

to Rule 37(e)(1) of the Federal Rules of Civil Procedure shall be imposed on Defendants,

consistent with the Opinion and Order. In addition, Plaintiffs’ letter-motion for leave to file a

reply expert report is granted. The Clerk of Court is respectfully directed to terminate the

motions at Docket Nos. 447, 473, and 484, and mark Dkt. No. 447 as “granted in part and denied

in part,” Dkt. No. 473 as “denied as moot,” and Dkt. No. 484 as “granted.”

        SO ORDERED.

Dated: August 18, 2021
       New York, New York




1
 As the Opinion and Order refers to information that has been redacted in the parties’ motion
papers and the accompanying exhibits, it will be temporarily filed under seal (and provided only
to the parties and to Judge Castel in unredacted form by email). The parties will have until
August 23 at 5:00 p.m. to advise the Court by email of proposed redactions, if any, for the
Court’s review, and the Court will then determine how the Opinion and Order will be filed on the
public docket.
